              Entered on Docket March 12, 2024                Below is the Order of the Court.




 1                                                             _____________________________
                                                               Marc Barreca
 2                                                             U.S. Bankruptcy Judge
                                                               (Dated as of Entered on Docket date above)
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 9                              IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF WASHINGTON
10
                                                      :   Case No.: 23-11919
11   In re:                                           :
                                                      :   ORDER RE: EX PARTE MOTION TO
12   HWC BURBS BURGERS, LLC,                          :   EXTEND TIME TO FILE POST
                                                      :   CONVERSION STATEMENTS &
13                    Debtor(s).                      :   SCHEDULES AND OTHER
                                                      :   RELATED DOCUMENTS
14
                                                      :
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16             THIS MATTER having come before the Court upon the debtor’s Motion to Extend Time

17   to File Post Conversion Statements and Schedules and Other Related Documents, the Court,
18   having been fully advised in the premises and good cause appearing,
19
               IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
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               1. The debtor’s motion is granted.
21
               2. The deadline to file Post Conversion Statements & Schedules and Other Related
22
                   Documents is extended to March 18, 2024.
23

24                                                  //END OF ORDER//

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26                                                                  1904 Wetmore Ave., Suite 200    Neeleman
      Order Re Motion to Extend Time                                          Everett, WA 98201     Law
                                                                 P 425.212.4800 || F 425.212.4802   Group




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     Presented by:
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